Case 1:04-cv-01190-.]DT-tmp Document 27 Filed 05/26/05 Page 1 of 5 Page|D 42

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Fn.E as “Ll( _ n_{:_
IN THE UNlTED sTATES DISTRICT COURT l ' '

FOR THE WESTERN DISTRICT OF TENNESSEI§; Hi~§, 95 m
EASTERN DIVISION '~ “ \'\.=

 

 

BRYAN SAMUEL MOONEY, a minor
by and through his parent, LISA
MOONEY, and LISA MOONEY,
lndividually,

Plaintiffs,
No. 01 -04~1 190-TMP
vs. JURY DEMANDED

SUSAN WALLACE, Individually, and
HENDERSON COUNTY BOARD OF
EDUCATION,

Defendants.

 

RULE 16(b) SCHEDULING ORDER

 

Pursuant to the scheduling conference Set by written notice, the following dates Were

established as the final dates for:

MOTIONS TO AMEND PLEAD]NGS AND JOI'N PAR'I`IES:

for Plaintiff: August 31, 2005
for Defendant: Septernber 30, 2005
DISCOVERY:

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES AND
REQUESTS FOR ADMISSIONS: lanuary 31, 2006
(i) Each party is limited to thirty (30) interrogatories

(b) EXPERT DISCLOSURE (Rule 26(a)(2)):
(i) Plaintiff’ s Experts: January 15, 2006
(ii) Defendant’S Experts: February 15, 2006
(iii) Plaintiff" s Rebuttal Experts March 3, 2006

Thls document entered on the docket sheet in compliance
withmulesaand/or?eqa)FsePon '.- ' "”

 

Case 1:04-cv-01190-.]DT-tmp Document 27 Filed 05/26/05 Page 2 of 5 Page|D 43

(c) DEPOS]TIONS: May 19, 2006
(i) Maximurn of fifty (50) depositions by each party

(ii) Each deposition is limited to a maximum of two (2) seven (7) hour
days

(d) SUPPLEMENTATION: Supplementation under Rule 26(e) due as required
by the F ederal Rules of Civil Procedure but no less than sixty (60) days
before the date of trial without leave of court or by agreement of the parties

FILING DISPOSITIVE MOTIONS: September 5, 2006
FINAL LISTS OF WITNESSES AND EXHlBITS (Rule 26(a)(3)):

(a) for Plaintiff: November 3, 2006
(b) for Defendant: November 20, 2006

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expected to last 10 to 15 days and is SET for JURY TRJAL
beginning December 4, 2006 at 9:30 a.m. Ajoint pretrial order is due on November 20, 2006. In
the event the parties are unable to agree on a joint pretrial order, the parties must notify the court at
least ten days before trial. A pretrial conference may be scheduled upon request of the parties

OTHER RELEVANT MATTERS:

lnterrogatories, Requests for Production and Requests for Admissions must be submitted to
the opposing party in sufficient time forthe opposing partyto respond bythe deadline for completion
of discovery F or example, if the FED R. CIV. P. allow 30 days for a party to respond, then the
discovery must be submitted at least 30 days prior to the deadline for completion of discoveryl

Motions to compel discovery are to be filed and served by the discovery deadline or within
30 days of the default or service of the response, answer, or objection which is the subject of the
motion if the default occurs within 30 days of the discovery deadline, unless the time for filing of
such motion is extended for good cause shown, or any objection to the default, response, or answer
shall be waived.

The parties are reminded the pursuant to Local Rule 7(a)(1)(A) and (a)(l )(B), all motions,
except motions pursuant to FED R. CIV. P. 12, 56, 59, and 60, shall be accompanied by a proposed

Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party may

Case 1:04-cv-01190-.]DT-tmp Document 27 Filed 05/26/05 Page 3 of 5 Page|D 44

tile an additional reply, however, without leave of the court. lf a party believes that a reply is
necessary it Shall file a motion for leave to file a reply accompanied by a memorandum setting forth
the reasons for which a reply is required

At this time, the parties have not given consideration to whether they wish to consent to trial
before the magistrate judgel The parties will tile a written consent form with the court should they
decide to proceed before the magistrate j udge.

The parties are encouraged to engage in court-annexed attorney mediation or private
mediation on or before the close of discoverv.

This order has been entered after consultation With trial counsel pursuant to notice. Absent
good cause shown, the scheduling dates set by this Order will not be modified or extended

lT IS SO ORDERED.

d-_-____________-_’

kw

TU M. PHAM
UNITED S'I`ATES MAGISTRATE JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 1:04-CV-01190 was distributed by fax, mail, or direct printing on
May 27, 2005 to the parties listed.

 

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Case 1:04-cv-01190-.]DT-tmp Document 27 Filed 05/26/05 Page 5 of 5 Page|D 46

Honorable J ames Todd
US DISTRICT COURT

